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 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   ERNEST C. WALKER,

11                  Plaintiff,                     No. CIV S-04-2075 LKK DAD P

12          vs.

13   D. ALLBEE, et al.,

14                  Defendants.                    FINDINGS AND RECOMMENDATIONS

15                                          /

16                  A recent court order regarding plaintiff’s failure to oppose defendants’ December

17   20, 2004 motion to dismiss was served on plaintiff at his address of record and was returned by

18   the postal service marked “Paroled.” It appears that plaintiff has failed to comply with the

19   court’s November 17, 2004 order and Local Rule 83-182(f), which require plaintiff to inform the

20   court and all other parties of any change of address. The undersigned will recommend that this

21   action be dismissed for failure to comply with court orders and applicable rules and for failure to

22   prosecute this action. See Local Rules 83-182(f) and 11-110.

23                  Accordingly, IT IS HEREBY RECOMMENDED that this action be dismissed

24   without prejudice.

25                  These findings and recommendations are submitted to the United States District

26   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within twenty

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 1   days after being served with these findings and recommendations, plaintiff may file written

 2   objections with the court. A document containing objections should be captioned “Objections to

 3   Magistrate Judge’s Findings and Recommendations.” Plaintiff is advised that failure to file

 4   objections within the specified time may waive the right to appeal the District Court’s order. See

 5   Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

 6   DATED: March 31, 2005.

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